Case 1:20-cv-20961-KMW Document 122 Entered on FLSD Docket 01/11/2021 Page 1 of 3




                          UNITED STATES DISTRICT CO URT
                          SOUTHEkN DISTRICT O F FLO RIDA
                          CASE NO .20-20961-CIV-W ILLIAM S

   SILVA HARAPETI,
         Plaintiff,
   VS.

   CBS TELEVISIO N STATIONS,INC.etal.

         Defendants.
                           /

                                        O RDER

         THIS MATTER is before the Courton Magistrate Judge Lauren Fleischer Louis'

   repod and recommendation (the d'Reporf'l(DE 120)on Plaintiff's unopposed motion to
   extendexpertwitnessdeadlines(DE 92).The Partiesdid notfile objectionsto the Rep.ort
   and the timeto do hasnow passed.The Cou'rthas independentlk reviewed Judje Louis'
   Reportandtherecord. Accordingly,itisORDERED AND ADJUD/ED asfollows:
         1. The conclusionsin the Repod (DE 120)are AFFIRMEb AND ADOPTED.
            Plaintiff's motion (DE 92)isGRANTED.
         2. The Court's Scheduling Order(DE 13)isAMENDED asfollows:
         June 4,2021              The Plaintiff shall disclose experts, expert witness

                                  sum m aries and reports.

         June 4,2021              The Defendantshallditclose experts,expertwitness

                                  sum m aries ànd repqrts.

         July6,2021               The Padies shall exchange rebuttal exped witness

                                  sum m aries and reports.
Case 1:20-cv-20961-KMW Document 122 Entered on FLSD Docket 01/11/2021 Page 2 of 3




        August13,2021             The Parties shall com plete aII discovery, including

                                  e'
                                   xpertdiscovery.

        August27,2021             The Parties shall com plete m ediation and file a

                                  mediation reportwith the Court.

        Septem ber24,2021         The Padies shallfilë aIIdispositiv: pre-trialm ötiôns

                                  ahd m emoranda ofIaw.'The Parties shallalso file a'
                                                                                    ny

                                  m ôtions to strike orexclude experttestim ony,whethes
                              '
                                  based ôn FedesalRule of Evidence 702 and Daubert

                                       Merrell Dow Pharm aceuticals, /nc., 509 U.S. 679

                                  (1993),oranyotherbasis.
        October15,2021            The Padi:s shall each file one m otion in Iim ine in

                                  accordance*w ith Section IV below.AIIm oti'onsin Iimine
                                   .
                                                     '
                                  .

                                  rriustbe filqd atIeastsix weeks before calehdarùall.

        October15,2021            The Padiesshallfile ajointpre-trialstipulation,exhibit
                                  Iists,ând witness Iists in accordanc: with LocalRule .
                              '
                                  i6..
                                     1(d)and(e)andSectionV below.ThePartiqsshall
                                  also file pçoposed jury instructiöns or conclusions of
                                  Iaw (fornonjurytrials)in accordancewith Section VI
                                  below .

        Novem ber5,2021           The Padies shallfile theirdeposition designations in

                                  accordande with Section VIIbelow .

        Janual 11,2022            CalendarCallis SET for11:00 AM
Case 1:20-cv-20961-KMW Document 122 Entered on FLSD Docket 01/11/2021 Page 3 of 3




           Janual 18,2022           Jury Trial.

           DO NE A ND O RDERED in Cham bers in M iam i,Florida,this 11th day ofJanuary,

   2021.



                                                        /   ..---               .
                                                  KATHL     M .W ILLIAM S
                                                  UNITED S ATES DISTRICT JUDG E
